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EXHIBIT 6

(Term Sheet and Commitment Letter for the Exit Revolving Facility)!

' The Debtors expressly reserve the right to supplement, modify or amend these documents at any time prior to the
Effective Date. The Debtors will supplement the Plan Supplement prior to the Confirmation Hearing to include a
form of the Exit Revolving Facility Credit Agreement.
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June 25, 2010

Neenah Foundry Company

and the other Borrowers referenced below
2121 Brooks Avenue

P.O. Box 729

’ Neenah, Wisconsin 54956

JOINT COMMITMENT LETTER
$100,000,600 SENIOR SECURED REVOLVING CREDIT FACILITY

Ladies and Gentleman:

Bank of America, N.A. ("Bank of America") and General Electric Capital Corporation ("GE
Capital") understand that Neenah Foundry Company (the “Company”), and certain of its direct
and indirect subsidiaries (such subsidiaries, together with the Company, collectively, the
“Borrowers”), the reorganized debtors under a plan of reorganization (the "Plan of
Reorganization") in Case No. 10-10360 (MFW) (the "Bankruptcy Case") commenced under
chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Distnct of
Delaware (the "Bankruptcy Court") are desirous of obtaining a senior secured revolving loan
facility for the Borrowers in an aggregate principal amount of $100,000,000 (the "Exit Revolving
Loan Facility”) in order to repay Borrowers’ secured working capital indebtedness on the
effective date (the "Effective Date") of the Plan of Reorganization, to otherwise enable
Borrowers to consummate the Plan of Reorganization on the Effective Date, and for general
working capital purposes. In connection with the foregoing, Bank of America is pleased to offer
its several, not joint, commitment to provide $50,000,000 of the Exit Revolving Loan Facility,
and GE Capital is pleased to offer its several, not joint, commitment to provide $50,000,000 of
the Exit Revolving Loan Facility, each upon and subject to the terms and conditions set forth in
this Commitment Letter and the attached Term Sheet (as defined below). In addition, Bank of
America and GE Capital Markets, Inc. ("GECM") are pleased to advise you of their willingness
to act, in connection with the foregoing commitments, as joint lead arrangers (in such capacities,
the "Lead Arrangers") for the Exit Revolving Loan Facility.

Bank of America will act as sole Administrative Agent for the Exit Revolving Loan Facility,
Bank of America and GE Capital will act as sole co-collateral agents for the Exit Revolving Loan
Facility (each, a "Co-Collateral Agent", and collectively the "Co-Collateral Agents"), and Bank
of America and GECM will act as Lead Arrangers for the Exit Revolving Loan Facility. No
additional agents, co-agents or arrangers will be appointed and no other titles will be awarded

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without the prior written approval of Bank of America and GECM. Each of Bank of America
and GE Capital shall also be granted certain rights in its capacity as Co-Collateral Agent as
surmmarized in the Term Sheet.

The several commitments of Bank of America and GE Capital (collectively, the "Commitment
Parties") hereunder are subject to the satisfaction of each of the following conditions precedent in
a manner acceptable to each of the Commitment Parties in its sole discretion: (a) the satisfaction
of the conditions set forth herein and in the Summary of Terms and Conditions attached hereto
(the “Term Sheet"); (b) Borrowers shall have obtained confirmation of the Plan of
Reorganization, which Plan of Reorganization shall approve the Exit Revolving Loan Facility,
shall contain terms and provisions acceptable to cach of the Commitment Parties in its sole
discretion and shall otherwise be in form and substance acceptable to each of the Commitment
Parties in its sole discretion, (c) the Plan of Reorganization shall have been confirmed by an
order entered by the Bankruptcy Court (the "Confirmation Order"), in form and substance
acceptable to each of the Commitment Parties in its sole discretion, and which has not been
stayed by the Bankruptcy Court or by any other court having jurisdiction to issue any such stay,
the time to appeal the Confirmation Order or to seek review, rehearing or certiorari with respect
to the confirmation order must have expired, no appeal or petition for review, rehearing, or
certiorari with respect to the Confirmation Order may be pending, and the Confirmation Order
must otherwise be in full force and effect, (d) the absence of a breach in any material respect of
any representation, warranty or agreement of Borrower set forth herein; and (e) the negotiation,
execution and delivery of definitive documentation for the Exit Revolving Loan Facility
substantially consistent with the Term Sheet and otherwise satisfactory to each of the
Commitment Parties.

Borrowers hereby represent, warrant and covenant to the Commitment Parties and the Lead
Atrangers that (a) all information, other than Projections (defined below), which has been or is
hereafter made available to the Commitment Parties and the Lead Arrangers by any Borrower or
any of any Borrower's representatives in connection with the transactions contemplated hereby
(the “Infornmnation”) is and will be complete and correct in all material respects and does not and
will not contain any untrue statement of a material fact or omit to state a material fact necessary
to make the statements contained therein not misleading in light of the circumstances under
which such statements were or are made, and (b) all financial projections concerning Company
and its subsidiaries that have been or are hereafter made available to the Commitment Parties and
the Lead Asrangers by any Borrower or any of any Borrower's representatives (the “Projections”)
have been or will be prepared in good faith based upon assumptions Borrowers believe to be
reasonable (Git being understood that such projections are subject to wncertainties and
contingencies, many of which are beyond the Borrowers' control, and no assurance can be given
that the Projections will be realizéd). Borrowers agree to furnish each of the Commitment
Parties and Lead Arrangers with such Information and Projections as such Commitment Party or
Lead Arranger may reasonably request and to supplement the Information and the Projections
from time to time until the closing date for the Exit Revolving Loan Facility so that the
representations, warranties and covenants in the preceding sentence are correct on such closing
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date. Borrowers understand that each of the Commutment Parties and Lead Arrangers will be
using and relying on the Information and the Projections without independent verification
thereof.

You agree to pay or reimburse, all reasonable and documented out-of-pocket fees, costs and
expenses (including, without limitation, reasonable fees and disbursements of counsel,
reasonable consultant costs and expenses, filing and recording fees, and costs and expenses
associated with due diligence, travel, appraisals, valuations and audits (the "Expenses")) incurred
by or on behalf of each of the Commitment Parties and Lead Arrangers in connection with (i) the
preparation, negotiation, execution and delivery of this commitment letter (this "Commitment
Letter"), the Term Sheet, and any and all documentation for the Exit Revolving Loan Facility,
and (ii) the enforcement of such Commitment Party's and Lead Arranger’s rights and remedies
under this Commitment Letter, in each case irrespective of whether the Exit Revolving Loan
Facility is consummated; provided that Borrowers’ obligation to pay or reimburse GE Capital's
and GECM's out-of-pocket fees, costs and expenses under clause (i) above and clause (i) of the
"Expenses" section of the Term Sheet shall be capped at $50,000 in the aggregate.

Your reimbursement obligation hereunder shall apply whether or not the Exit Revolving Loan
Facility outlined herein closes, and each Commitment Party's and Lead Arranger’s right to receive
reimbursement of all costs and expenses incurred in connection with Borrowers’ account and the
Exit Revolving Loan Facility to the extent set forth herein shall be entitled to priority as an
administrative expense claim under Section 503(b)\(1) of the Bankruptcy Code, and shall be
payable by Borrowers not later than five (5) business days after written demand without further
order of the Bankruptcy Court, whether or not the Exit Revolving Loan Facility outlined herein
closes. .

You agree to indemnify and held harmless each of the Commitment Parties and Lead Arrangers
and each of its affiliates, directors, officers, employees, advisors and agents (each, an
“Indemnified Party’) from and against (and will reimburse each Indemmified Party for) any and
all losses, claims, damages, liabilities, and expenses (including, without limitation, the
reasonable fees and expenses of counsel) that may be incurred by or asserted or awarded against
any Indemnified Party, in each case arising out of or in connection with or by reason of
(including, without limitation, in connection with any investigation, litigation or proceeding or
preparation of a defense in connection therewith) any matters contemplated by this Commitment
Letter, any related transaction, the Exit Revolving Loan Facility or any use made or proposed to
be made with the proceeds thereof, unless and only to the extent that, as to any Indemnified
Party, it shall be determined in a final, non-appealable judgment by a court of competent
jurisdiction that such losses, claims, damages, liabilities or expenses resulted from the gross
negligence or willful misconduct of such Indemnified Party or its affiliates, directors, officers,
employees, advisors or agents. You agree that no Indemnified Party shall have any liability for
any indirect or consequential damages in connection with the Exit Revolving Loan Facility.
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You agree to pay the fees set forth in those certain Fee Letters dated as of the date hereof among,
im one case, you, the Commitment Parties and the Lead Arrangers (the "Commitment Fee Letter")
and, in the other, you and Administrative Agent (the "Administrative Agency Fee Letter"; the
Commitment Fee Letter and the Administrative Agency Fee Letter are collectively, the "Fee
Letters") and the fees set forth on Schedule 1 to the Term Sheet to the Administrative Agent (for
the account of the Lenders), in immediately available funds, as and when indicated therein. You
apree to use commercially reasonable efforts to obtain the approval of the Bankruptcy Court, to
the extent necessary, to authorize the transactions contemplated by this paragraph and by the
preceding three paragraphs regarding reimbursement of expenses and indemnification.

In connection with the Exit Revolving Loan Facility, Borrowers agree to provide to each of the .
Commitment Parties and the Lead Arrangers, upon the reasonable request of such Commitment
Party or Lead Arranger, all such documents, reports, agreements, financial and other information,
environmental reports, appraisals and other items as such Commitment Party or Lead Arranger or
its counsel may reasonably request with respect to Borrowers and their business.

The terms of this Commitment Letter, the Term Sheet and the Fee Letters are confidential and,
except for disclosure on a confidential basis to accountants, attomeys and other professional
advisors retained by Borrowers in connection with the Exit Revolving Loan Facility or as may be
required by law, may not be disclosed in whole or in part to any other person or entity without the
prior written consent of each of the Commitment Parties and Lead Arrangers. The foregoing
notwithstanding, you may provide a copy hereof (including the Term Sheet, but not mcluding the
Fee Letters unless under seal} to the Bankruptcy Court to the extent necessary to obtain
Bankruptcy Court approval of the acceptance by you of this Commitment Letter, to the lenders
under the Senior Term Loan Facility, and to the indenture trustee for the Third Lien Notes.

All of Borrowers’ reimbursement, imdemnification and confidentiality obligations set forth in this
Commitment Letter shall survive the termination of this Commitment Letter and shal] remain in
full force and effect regardless of whether any definitive documentation for the Exit Revolving
Loan Facility shall be executed and notwithstanding the termination of this Commitment Letter
or any commitment or undertaking hereunder.

In the event Borrowers breach any of their obligations or agreements set forth in this
Commitment Letter, at any Commitment Party's option this Commitment Letter with respect to
such Commitment Party and the commitments of such Commitment Party hereunder shall
terminate and Borrowers shall forfeit any fees and expense reimbursements paid to such
Commitment Party or the related Lead Arranger prior to such termination.

Borrowers agree that Bank of America may charge any and all amounts due by any Borrower
under or in connection with this Commitment Letter to any loan account of any Borrower with
Bank of America or any other account of any Borrower maintained with Bank of America.
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Each of the Commitment Parties hereby notifies you that pursuant to the requirements of the
USA PATRIOT Act, Title I of Pub. L. 107-56 (signed into law October 26, 2001) (the “Act”),
such Commitment Party is required to obtain, verify and record information that identifies you,
which information includes your name and address and other information that will allow such.
Commitment Party to identify you in accordance with the Act.

This Commitment Letter and the Term Sheet shall be governed by laws of the State of Ilinois.
Each of the Borrowers, the Commitment Parties and the Lead Arrangers hereby irrevocably
waives all right to trial by jury in any action, proceeding or counterclaim (whether based on
contract, tort or otherwise) arising out of or relating to this Commitment Letter, the Term Sheet,
the transactions contemplated hereby and. thereby or the actions of any Borrower, Commitment
Party or Lead Arranger in the negotiation, performance or enforcement hereof.

This Commitment Letter, together with the Term Sheet and the Fee Letters, set forth the entire
understanding of Borrowers, the Commitment Parties and the Lead Arrangers with respect to the
Exit Revolving Loan Facility. This Commitment Letter may be modified or amended only by the
written agreement of Borrowers, the Commitment Parties and the Lead Arrangers. This
Commitment Letter is not assignable by Borrowers without each Commitment Party's pnor
written consent and is intended to be solely for the benefit of Borrowers, the Commitment Parties
and the other Indemnified Parties. Each of Bank of America and GE Capital may assign all or
any portion of their respective commitments under the Exit Revolving Loan Facility to any
affiliate of such party.

This offer will expire at 11:59 p.m. Chicago time on July 6, 2010, unless Borrowers execute this
Commitment Letter, with the Term Sheet attached and with the Fee Letters, and retums this
Commitment Letter and the Fee Letters to Bank of America at or prior to that time (which may
be by facsimile transmission), whereupon this Commitment Letter (which may be signed in one
or more counterparts) and the Term Sheet shall become binding agreements. Thereafter, this
undertaking and commitment will expire on August 2, 2010, unless definitive documentation for
the Exit Revolving Loan Facility is executed and delivered prior to such date.
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This Commitment Letter shall be of no force and effect unless Borrowers deliver io the
Commitment Parties, on or before 11:59 p.m. Chicago time on July 6, 2010, a copy of an order
entered by the Bankruptcy Court in the Bankruptcy Case, in form and substance satisfactory to
the Commitment Parties, authorizing Borrowers’ payment to the applicable Commitment Parties
of the Bank of America Commitment Fee and the GE Commitment Fee (each as defined in the
Committnent Fee Letter) due and payable upon effectiveness of this Commitment Letter pursuant
to the Commitment Fee Letter (together with the payment of the Bank of America Commitment
Fee to Bank of America and payment of the GE Commitment Fee to GE Capital in immediately
available funds on or before July 6, 2010 (or, if such court approval becomes available on July 6,
2010 at a time later than the time that allows the Borrowers to make such payment on July 6,
2010, the payment of the Bank of America Commitment Fee to Bank of America and the GE
Commitment Fee to GE Capital in immediately available funds on July 7, 2010)) and otherwise
authorizing Borrowers’ acceptance of, and incurrence of its obligations under, this Commitment
Letter, which order shall specifically provide that the Commitment Parties' right to receive the
Bank of America Commitment Fee and the GE Commitment Fee, as applicable, pursuant to the
Commitment Fee Letter and reimbursement of all costs and expenses incurred in connection with
the Borrowers' account and the Exit Revolving Loan Facility outlined herein shall be entitled to
priority as administrative expense claims under Section 503(b)(1) of the Bankruptcy Code,
whether or not the Exit Revolving Loan Facility closes. In addition, the Commitment Parties’
commitments under this Commitment Letter shall be of no further force or effect if the Effective
Date does not occur, and the financing transaction described hereim does not close, on or before
the expiration of the original term of the revolving loan DIP facility implemented by the
Postpetition Agreement dated as of February 5, 2010 by and among the Borrowers, Bank of
America and the other lenders party thereto.

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Very truly yours,
BANK OF AMERICA, N.A.

» LAUR

Name: }Nomaés I. BRewnne
Tile: Veet. des Pee tory

GENERAL ELECTRIC CAPITAL
CORPORATION

By:
Name:
Title: Duly Authorized Signatory

Signature Page to Commibnent Letter
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Signeure Page to Cocumitment Letter

Very truly yours,. .

BANK OF AMERICA, N.A.

By,
Name:
Title:

GENERAL ELECTRIC CAPITAL
CORPORATION

Name: Ong i~ Es eo
ry

Title: Duly Authorized Si ,

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Accepted and Agreed to as of
July __, 2010:

NEENAH FOUNDRY COMPANY

DEETER FOUNDRY, INC.

MERCER FORGE CORPORATION

DALTON CORPORATION

DALTON CORPORATION, STRYKER MACHINING FACILITY CO.
DALTON CORPORATION, WARSAW MANUFACTURING FACILITY
ADVANCED CAST PRODUCTS, INC.

GREGG INDUSTRIES, INC.

A & M SPECIALTIES, INC. |

NEENAH TRANSPORT, INC. |

DALTON CORPORATION, KENDALLVILLE MANUFACTURING FACILITY
MORGAN'S WELDING, INC.

Each by:
Name:

Title:

Signature Page to Commitment Letter
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SUMMARY OF TERMS AND CONDITIONS
$100,000,000 SENIOR SECURED REVOLVING CREDIT FACILITY

BORROWERS:

GUARANTORS:

ADMINISTRATIVE
AGENT:

CO-COLLATERAL
AGENTS:

JOINT LEAD
ARRANGERS:

LENDERS:

CREDIT FACILITY:

FACILITY INCREASE:

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Neenah Foundry Company ("Neenah") and certain domestic
operating subsidiaries of Neenah, reorganized debtors under a plan
of reorganization (the "Plan of Reorganization") confirmed in Case
No. 10-10360 (MFW) commenced under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the
District of Delaware (the "Bankruptcy Court") (collectively,
"Borrowers").

A single purpose holding company that directly owns all of the
equity securities of Neenah ("Intermediate Parent"), the direct parent
of Intermediate Parent ("Ultimate Parent"), and all existing and
future direct and indirect domestic subsidiaries of Neenah that are
not Borrowers, excluding immaterial subsidiaries (mmaterial
subsidiaries to be defined, but to include only subsidiaries with de
minimis operations and assets) (collectively, "Guarantors").

Bank of America, N.A. ("Bank"), as administrative agent Gin such
capacity, the "Administrative Agent") for the Lenders (as defined
below).

Bank of America and General Electric Capital Corporation ("GE
Capital")

Bank of America and GE Capital Markets, Inc. ("GECM")

Bank, GE Capital, and potentially additional lenders to be
determined (collectively, the "Lenders").

A revolving credit facility of up to $100,000,000 (the "Exit
Revolving Loan Facility"), including a $20,000,000 sub-limit for
letters of credit (letters of credit would be 100% reserved against
borrowing availability under the Exit Revolving Loan Facility).

The Exit Revolving Loan Facility will include a provision
pemnitting Borrowers from time to time to increase the aggregate
amount of the Exit Revolving Loan Facility with Administrative
Agent's consent by up to $20,000,000 with additional commitments
from Lenders or new commitments from financial institutions
acceptable to Borrowers and Administrative Agent in its reasonable
discretion, provided that (i) no default or event of default shall exist
at the time of any such increase, (ii) although Lenders shall have a
pro rata right of first refusal to participate in such increase, no
Lender shall be obligated to participate in such mcrease by

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SWINGLINE LOANS:

PURPOSE:

LOAN AVAILABILITY:

increasing its own commitment amount, which decision shall be
made in the sole discretion of each Lender, (iii} any such increase
would be subject to the successful syndication of the increased
commitments {or such lower increased amount as Borrowers may
agree to) and (iv)as at the time of such proposed increase, the
aggregate amount of such potential increase of the Revolving Credit
Facility provided for in this paragraph shall not exceed the basket
for the Revolving Credit Facility included in the Senior Term Loan
Facility (as defined below) as then in effect.

The Exit Revolving Loan Facility would include a sub-facility for
Swingline Loans ("Swingline Loans") to be made by Bank, in an
amount to be mutually agreed among Administrative Agent,
Borrowers and Lenders. The outstanding balance of the Swingline
Loans would be subtracted from borrowing availability under the
Exit Revolving Loan Facility.

The Exit Revolving Loan Facility would be used by Borrowers to on
the effective. date (the “Effective Date") of the Plan of
Reorganization (i) consummate the Plan of Reorganization on the
Effective Date, including financing administrative expenses incurred
by Borrowers in connection with their emergence from bankruptcy
and making all distributions and payments required under the Plan
of Reorganization, (ii) repay Borrowers! secured working capital
indebtedness (including the obligations to the Lenders under the
working capital loan facility extended to Borrowers, as debtors-in-
possession, during the pendency of the Bankruptcy Case (the "DIP
Facility")) and (iti) provide liquidity to Borrowers for general
working capital purposes.

Advances under the Exit Revolving Loan Facility would be limited
to a borrowing base (the "Borrowing Base") calculated as follows:
(a) 85% of eligible accounts receivable (excluding eligible tooling
accounts receivable), plus (b) the lesser of (i) 85% of eligible tooling
accounts receivable and (ii) $5,000,000, plus (c) the lesser of (i)
$3,000,000 and (ii) the sum of 50% of eligible regular extended
municipal accounts receivable, plus 25% of eligible extra extended
municipal accounts receivable, plus (d) the lowest of (i) $50,000,000
(with such amount to be increased by 50% of the amount, if any,
above $100,000,000 to which the aggregate amount of the Exit
Revolving Loan Facility is increased pursuant to the facility increase
provisions described above), (ii) 65% of the lower of cost or market
value of eligible inventory, and (iii) 85% of the appraised net orderly
liquidation value of eligible inventory, plus (e) the lesser of (1) 85%
of the appraised net orderly liquidation value of eligible casting
patterns and core boxes and (ii) $5,000,000, minus (£) such reserves
as Bank may establish in its Permitted Discretion (to be defined).

Standards of eligibility as of the Effective Date would be agreed to
among the Borrowers, the Administrative Agent and the Lenders,
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but in any event would include the following ineligible categories,
subject to the Administrative Agent's right in its Permitted Discretion
to adjust eligibility criteria after the Effective Date to the extent
provided in the Exit Revolving Loan Facility Documentation:

Ineligible Accounts Receivable: (i) municipal accounts outstanding
for more than 120 days after the original invoice date shown on the
invoice or 90 days after the original due date shown on the invoice,
(ii) non-municipal accounts outstanding for more than 90 days after
the original invoice date shown on the invoice or 60 days after the
original due date shown on the invoice, (it) intercompany accounts,
(iv) foreign accounts, (v) all accounts owing by an account debtor as to
which 50% or more of the accounts owing by such account debtor are
otherwise ineligible, (vi) contra accounts, (vii) federal government
accounts not compliant with the Federal Assignment of Claims Act,
(viii) accounts to any one account debtor or group of affiliated account
debtors that are in excess of 20% of total eligible accounts to the extent
of such excess, (ix) accounts owing by account debtors subject to a
bankruptcy proceeding and (x) such other categories as are consistent
with Amended and Restated Loan and Security Agreement dated as of
December 29, 2006 among Borrowers, the lenders party thereto, and
Bank, as agent for such lenders, as amended but excluding
amendments made thereto upon the effectiveness of the DIP Facility
(the "Prepetition Loan Agreement") and agreed to by the Borrowers,
the Administrative Agent and the Lenders.

Ineligible Regular Extended Municipal Accounts: (i) municipal
accounts outstanding for more than 180 days after the invoice date or
more than 150 days after the due date, and (i) accounts that would
otherwise be ineligible under the definition of Ineligible Accounts
Receivable.

Ineligible Extra Extended Municipal Accounts: (i} nounictpal accounts
outstanding for more than 270 days after the invoice date or more than
240 days after the due date, and (i1) accounts that would otherwise be
ineligible under the definition of Ineligible Accounts Receivabie.

Ineligible Inventory: (i)slow moving, obsolete and defective
inventory, (ii) inventory in transit, (iii) returns, (iv) off-site inventory
for which appropriate lien releases and waivers have not been obtained
or for which a 3-month rent reserve in lieu thereof has not been
established, (v) packing and shipping materials, (vi) inventory that is
subject to a third party's trademark or other intellectual property right,
which trademark or right would prevent a sale of such inventory by the
Administrative Agent on satisfactory terms in a default unless such
third party and the Administrative Agent enter into an agreement with
respect to the Administrative Agent's remedies, (vit) consigned
inventory as to which Borrowers have not completed documentation
reasonably satisfactory to the Administrative Agent and (viii) such
other categories as are consistent with the Prepetition Loan Agreement

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SECURITY:

MATURITY:

INTEREST, FEES AND
EXPENSES:

TERMS AND
CONDITIONS:

and agreed to by the Borrowers, the Administrative Agent and the
Lenders.

Lenders would require minimum excess availability at closing of at
least $20,000,000 after giving pro forma effect to all payments to be
made to trade creditors under the Plan of Reorganization.

All obligations to the Administrative Agent and the Lenders would
be secured by a grant to the Administrative Agent for the benefit of
the Lenders of (a) first priority security interesis (subject to
permitted liens to be agreed) upon all of each Borrower's and each
Guarantor's existing and future acquired G) accounts receivable,
(ii) inventory, Gii) casting patterns and core boxes, (iv) deposit
accounts, (v) cash, (vi) intercompany loans made using the proceeds
of loans advanced under the Exit Revolving Loan Facility, (vii)
policies of business interruption insurance, (viii) supporting
obligations and letter of credit rights, (ix) chattel paper, documents,
general intangibles, instruments and investment property evidencing
or constituting proceeds of accounts, inventory, casting patterns and
core boxes, (x) books and records relating to the foregoing and
(xi) proceeds of the foregoing (collectively, "Revolver Senior
Collateral") and (b) second priority security interests (Junior to the
security interests in such assets securing the "Senior Term Loan
Facility” (as defined below) and subject to permitted liens to be
agreed) upon all of each Borrower's and each Guarantor's existing
and future acquired (i) machinery and equipment, (ii) real property,
(iii) equity securities, (iv) other property not meluded im the
Revolver Senior Collateral, (v) books and records relating to the
foregoing and (vi) proceeds of the foregoing (collectively, "Senior
Term Loan Semor Collateral").

The Exit Revolving Loan Facility would mature 4 years after the
closing date.

See Schedule I attached hereto.

The financing agreements would contain representations and
watranties, covenants, events of default, and other provisions
acceptible to the Lenders, including the followmg:

1. A minimum fixed charge coverage ratio of 1.1x, tested
monthly during a Covenant Trigger Period (to be defined in the
Loan and Security Agreement — proposed as revolver availability
being less than the greater of 15% of the revolving commitment and
$15MM). Upon the occurrence of a Covenant Trigger Period, the
fixed charge coverage ratio covenant shall be immediately tested as
of the last day of the most recently ended month for which financial
statements have been delivered and thereafter for so long as such
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Covenant Trigger Period remains in effect.

2. Borrowers' agreement to provide the Lenders periodic
financial and collateral reporting, including annual audited financial
statements, monthly and quarterly internally prepared financial
statements, annual financial projections (prepared on a month-by-
month basis), and periodic borrowing base certificates, receivables
agings and inventory reports. The frequency of borrowing base
reporting to be agreed in a manner satisfactory to Agent and the
Lenders.

3. Borrowers’ agreement to maintain insurance with insurance
catriers (acceptable to Administrative Agent) against such risks and
in such amounts as is customary for similar businesses, naming the
Administrative Agent as mortgagee/loss payee, as its interest may
appear.

A. Customary affirmative and negative covenants agreed to
between the Lenders and Borrower, including without limitation
restrictions on distributions and dividends, acquisitions and
investments, indebtedness, liens and affiliate transactions, subject to
customary exceptions to be negotiated.

5. Borrowers’ agreement to cause all proceeds of accounts
receivable to be forwarded to a blocked account with respect to
which the Administrative Agent will have immediate cash dominion
on the Effective Date. The Borrowers shall have option to cause the
cash dominion arrangement to be changed to a springing cash
dominion arrangement rather than an immediate cash dominion
arrangement as of any date following the Effective Date upon which
Borrowers have had revolver availability in excess of the greater of
20% of the revolving commitment and $20MM for at least 90
consecutive days. In the event that Borrowers exercised such option
and excess availability under the facility subsequently fell to an
amount less than the greater of 20% of the revolving commitment
and $20MM, Borrowers would be required to reinstate a cash
dominion arrangement in favor of Administrative Agent upon the
written election of Administrative Agent.

6. Administrative Agent would have the right to perform
(a} semi-annual appraisals (or appraisals three times per year if an
event of default exists) of Borrowers’ inventory other than casting
patterns and core boxes, and (b) annual appraisals (or semi-annual
appraisals if an event of default exists) of Borrowers' casting
patterns and core boxes. In addition, Administrative Agent would
have the right to conduct field examinations three times per year,
subject to a potential reduction to two times per year if certain
criteria to be negotiated are met, and without any Limitation if an
event of default exists.
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CONDITIONS
PRECEDENT:

The extension of the aforementioned financing arrangement is
subject to the fulfillment of a number of conditions to the
Administrative Agent's and Lenders’ satisfaction, including, but not
limited to, the following:

1. Administrative Agent's receipt of satisfactory new appraisals
of Borrowers’ inventory and casting patterns and core boxes
conducted by Hilco.

2. All legal documents with respect to the proposed transaction
would be prepared by Administrative Agent and its counsel and be
acceptable to Administrative Agent, Lenders and their respective
counsel (including, without limitation, a credit agreement, security
agreement, control agreements, mortgages, pledge agreements,
intercreditor agreements and subordination agreements, and receipt
of other documentation customary for transactions of this type
including legal opinions, officers’ certificates, instruments necessary
to perfect Administrative Agent's first priority security interest in the
Revolver Senior Collateral).

3. No material adverse change since March 31, 2010 in
Borrowers’ assets, liabilities, business, financial condition, business,
or results of operations.

4. Administrative Agent's receipt of such third party documents
as Administrative Agent may reasonably require Gt being agreed
and understood that the receipt of a landlord waiver agreement or
other applicable third party document shall be one of the eligibility
requirements for any inventory or casting patterns and core boxes
that are located at a leased or other third party location; provided,
however that in lieu thereof, a reserve of three months’ rent shall be
established for any such location with respect to which a landlord
waiver or other applicable third party document cannot be obtained),
all in form and substance reasonably acceptable to Administrative
Agent.

5. Receipt by Administrative Agent and Lenders of such
historic financial statements, pro forma financial statements and
projections with respect to Borrowers as Administrative Agent and
Lenders reasonably deem appropriate.

6. The absence of any material disruption of or material adverse
change in conditions in the financial, banking or capital markets that
any Joint Lead Arranger, in its reasonable credit judgment, deem
material in connection with the syndication of the Exit Revolving
Loan Facility.
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7. Neenah shall have obtained a loan of at least $60,000,000
(the "Senior Term Loan Facility”), secured by first priority security
interests upon the Senior Term Loan Senior Collateral and second
priority security interests (junior to the security interests in such
assets securing the Exit Revolving Loan Facility) upon the Revolver
Senior Collateral, all on terms and pursuant to agreements in form
and substance satisfactory to Administrative Agent and Lenders.
The lenders under the Senior Term Loan Facility shall have entered
into an intercreditor agreement with Administrative Agent in form
and substance satisfactory to Administrative Agent and Lenders.
The proceeds of the Senior Term Loan Facility shall be used to
(i) refinance all of the Borrowers’ obligations under the Term Loan
DIP Agreement (as defined under the DIP Facility), (ii) making all
distributions and payments required under the Plan of
Reorganization, including financing of administrative expenses
incurred by Borrowers in connection with their emergence from
bankruptcy, (iii) repay obligations under the DIP Facility and the
Exit Revolving Loan Facility, and (iv) provide liquidity to
Borrowers for working capital purposes.

8. Neenah shall have proposed a Plan of Reorganization and
accompanying Disclosure Statement, which shall provide for the
Exit Revolving Loan Facility, shall provide for a conversion of
Borrowers' existing 9.5% Secured Notes into a combination of
$50,000,000 of debt securities (the "Third Lien Notes") and equity
securities of Parent, shall provide for a conversion of Borrowers’
existing 12.5% Subordinated Notes into equity securities of Parent,
on terms and conditions reasonably acceptable to Administrative
Agent and each Lender. The trustee for the Third Lien Notes shall
have entered into an intercreditor agreement with Administrative
Agent and the lenders under the Senior Term Loan Facility in form
and substance satisfactory to Administrative Agent and Lenders.

9. The Plan of Reorganization shall have been confirmed by a
final order entered by the Bankruptcy Court (the "Confirmation
Order"), in form and substance reasonably acceptable to
Administrative Agent and each Lender, and which has not been
stayed by the Bankruptcy Court or by any other court having
jurisdiction to issue any such stay. Moreover, the time to appeal the
Confirmation Order or to seek review, rehearing or certiorari with
respect to the Confirmation Order must have expired, no appeal or
petition for review, rehearing or certiorari with respect to the
Confirmation Order may be pending, and the Confirmation Order
must otherwise be in full force and effect.

10. _—_ All conditions precedent to the effectiveness of the Plan of
Reorganization shall have been satisfied (or, with the prior written
consent of Administrative Agent and each Lender, watved) m the
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CLEAR MARKET
PROVISION:

CO-COLLATERAL
AGENT RIGHTS:

reasonable judgment of Administrative Agent and each Lender;
provided, however, that except as consented to by Administrative
Agent and each Lender, the Bankruptcy Court's retention or
jurisdiction under the Confirmation Order shall not govern the
enforcement of the Loan Documents or any rights or remedies
related thereto.

11. There shalt exist no claim, action, suit, investigation,
litigation or proceeding, pending or threatened in any court or before
any arbitrator of governmental instrumentality which relates to the
Plan of Reorganization, Exit Revolving Loan Facility, the DIP
Facility and the Prepetition Loan Agreement or which, in the
reasonable business judgment of Administrative Agent and the
Lenders, has any reasonable likelihood of having a material adverse
effect.

From the date of the commitment letter to which this Term Sheet is
attached until the earlier of (i) closing of the Exit Revolving Loan
Facility and (ii) the date that is 120 days following the date of the
commitment letter to which this term sheet is attached, there shall be
no competing offering, placement or arrangement of any debt
securities or bank financing by or on behalf of Borrowers, other than
the Senior Term Loan Facility and the Third Lien Notes. Borrowers
will immediately advise Administrative Agent and Lenders if any
such transaction is contemplated. For the avoidance of doubt,
seeking a lender to provide for a facility increase to the Exit
Revolving Loan Facility as contemplated herein shall not constitute
a breach of this provision.

The definitive documentation for the Exit Revolving Loan Facility
(the "Exit Revolving Loan Facility Documentation") shall expressly
provide that:

(a) Each Co-Collateral Agent shall have rights under the Exit
Revolving Loan Facility Documentation that are as expansive as the
rights, if any, afforded thereunder to the Administrative Agent
relating to (i) the definitions in the Exit Revolving Loan Facility
Documentation of revolver availability, excess availability, or
Borrowing Base (or any other comparable term) and any component
of each such definition (including, without limitation, reserves,
advance rates, appraised values, eligibility criteria, reporting
requirements and appraisals, examinations and collateral audits), and
(ii) the establishment, determination, modification or release of any
of the reserves established against the Borrowing Base pursuant to
the definition thereof in the Exit Revolving Loan Facility
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Documentation;

(b} Any provision in any of the Exit Revolving Loan Facility
Documentation {including any of the aforesaid intercreditor
agreements or any other provisions relating to any of the matters
covered by the immediately preceding paragraph or the validity,
extent, perfection or priority of the Liens granted to the
Administrative Agent in regards to the collateral for the Exit
Revolving Loan Facility (collectively, the "Collateral Issues") which
would otherwise need the consent or approval of or to be
satisfactory or acceptable to the Administrative Agent shall be
deemed to require the consent or approval of or be reasonably
satisfactory or reasonably acceptable to (as the case may be) each of
the Co-Collateral Agents provided that GE Capital shall not be
named on financing statements nor have responsibility for the actual
administration of Collateral with regard to which perfection is
obtained through possession or control;

(c} If any provision in any of the Exit Revolving Loan Facility
Documentation relating to a Collateral Issue allows the
Administrative Agent to request that any action be taken or any
documents or other information be provided by or on behalf of any
Borrower or Guarantor, the Administrative Agent shall make any
such request at the direction of any Co-Collateral Agent and shall
provide each Co-Collateral Agent with any such documents or
information so requested after the receipt thereof by the
Administrative Agent; and

(d} In the event that all of the Co-Collateral Agents and the
Administrative Agent cannot in good faith agree on any issue
relating to any or all of the Borrowing Base, reserves, any
Borrowing Base eligibility standards or advance rates, Borrowing
Base reporting, Collateral appraisals or examinations, or any other
action or determination relating to any Collateral Issue, the
resolution of such issue shall be to require that the more
conservative credit judgment be implemented (that is, that would
result in the least amount of credit being available to the Borrowers
under the Exit Revolving Loan Facility Documentation);

provided, however, that notwithstanding anything in the Exit
Revolving Loan Facility Documentation and the foregoing to the
contrary, (i) the Administrative Agent shall have sole and exclusive
authority and responsibility under the credit agreement for the Exit
Revolving Loan Facility and the other Exit Revolving Loan Facility
Documentation (without the consent or further approval of any Co-
Collateral Agent) to make overadvances and Admunistrative Agent
loans to the Borrowers in a manner that is consistent with the terms
and conditions of the Prepetition Loan Agreement and to select,
employ and retain all attomeys, advisors, appraisers or other
professionals retained or to be retained by the Administrative Agent,
OTHER:

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(ii) neither Bank of America nor GE Capital shall assign any of its
rights, powers, duties or obligations as a Co-Collateral Agent under
the Exit Revolving Loan Facility Documentation to any person
(other than an affiliate of such person designated by such person
from time to time in writing to the Administrative Agent as a Co-
Collateral Agent) without the prior written consent of the
Administrative Agent and (iii) all rights of each Co-Collateral Agent
hereunder and the obligation of the Administrative Agent to comply
with any request or direction of such Co-Collateral Agent shall be at
all times subject to the terms and conditions of and any other
limitations set forth in the intercreditor agreements entered into with
the lenders under the Secured Term Loan Facility and the trustee for
the holders of the Third Lien Notes; and

provided, further, that in the event that GE Capital and its affiliates
shall cease to hold at least 25% of the aggregate commitments/loans
of all Lenders under the Senior Credit Facility, GE Capital shall no
longer be a Co-Collateral Agent and Bank of America shall
thereafter and until maturity of the Senior Credit Facility be vested
with exclusive authority concerning all rights previously vested in
the Co-Collateral Agents under the Senior Credit Facility
Documentation.

This Summary of Terms and Conditions is intended as an outline of
certain of the material terms of the Exit Revolving Loan Facility and
does not purport to summarize all of the conditions, covenants,
representations, warranties and other provisions which would be
contained in definitive documentation for the Exit Revolving Loan
Facility.
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FEE LETTERS:

UNUSED LINE FEE:

INTEREST RATES:

SCHEDULE 1
INTEREST, FEES AND EXPENSES

Borrowers would pay fees as described in the separate fee letters
executed in connection with the commitment letter to which this
Term Sheet is attached.

An unused line fee calculated on the unused portion of the Exit
Revolving Loan Facility would be payable monthly in arrears, with
the amount of such unused line fee to equal 0.50% per annum.

The Exit Revolving Loan Facility would bear interest at a rate equal
to LIBOR plus an Applicable Margin (as set forth below) or the
Base Rate plus an Applicable Margin (as set forth below), as
selected by the Borrowers.

LIBOR would be defined in accordance with Administrative Agent's
customary practices. Base Rate would mean Administrative Agent's
prime rate, which is not necessarily the lowest rate at which
Administrative Agent makes loans.

LIBOR loans would be subject to customary provisions, including
applicable reserve requirements, limits on the number of outstanding
LIBOR loans, and minimum dollar amounts of each LIBOR Ioan.

All interest would be calculated on the basis of actual number of
days elapsed in a year of 360 days. If an event of default exists, all
loans and other obligations would bear interest at a rate 200 basis
points in excess of the otherwise applicable rate.
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APPLICABLE
MARGIN:

LETTER OF CREDIT
FEES:

From the closing date to, but not including, the first Adjustment
Date (as hereinafter defined), the "Applicable Margin” shall be the
percentages set forth below with respect to Base Rate loans and
LIBOR loans

Base Rate Margin: 2.25%
LIBOR Margin: 3.75%

The percentages set forth above will be adjusted on the first day of
the calendar month following the last day of each fiscal quarter,

beginning on January 1, 2011 (each such date, an "Adjustment

Date"), effective prospectively, based on the Borrowers’ average |
excess availability for the fiscal quarter most recently ending in

accordance with the following:

Average Excess

Availability Base Rate Margin LIBOR Marein
Less than 2.50% 4.00%
$15,000,000

Greater than or 2.25% 3.75%
equal to

$15,000,000 but

less than

$35,000,000

Greater than or 2.00% 3.50%
equal to

$35,000,000

Borrowers would pay (a) a letter of credit fee monthly in arrears on
all letters of credit equal to the applicable per annum LIBOR margin
(calculated on the basis of actual number of days elapsed in a year of
360 days), (b) a 0.125% fronting fee to Administrative Agent upon
the issuance of each letter of credit, and (c) Administrative Agent's
customary fees and charges in connection with all amendments,
extensions, draws and other actions with respect to letters of credit.
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EXPENSES:

Borrowers shall pay or reimburse, all reasonable and documented,
out-of-pocket fees, costs and expenses (including, without
limitation, reasonable fees and disbursements of counsel, reasonable
consultant costs and expenses, filing and recording fees, and costs
and expenses associated with due diligence, travel, appraisals,
valuations and audits (the "Expenses") incurred by or on behalf of
Administrative Agent and/or any Co-Collateral Agent in connection
with (i) the preparation, negotiation, execution and delivery of any
commitment letter, the Term Sheet, and any and all documentation
for the Exit Revolving Loan Facility, and (ii) the enforcement of
Administrative Agent's or any Co-Collateral Agent's rights and
remedies under the commitment letter to which this Term Sheet is
attached, in each case irrespective of whether the Foat Revolving
Loan Facility is consummated; provided that Borrowers’ obligation
to pay or reimburse GE Capital's and GECM's out-of-pocket fees,
costs and expenses under clause (i} above and clause (i) of the
expense reimbursement paragraph of the commitment letter to which
this term sheet is attached shall be capped at $50,000 in the
aggregate. Borrowers’ reimbursement obligation hereunder shall
apply whether or not the Exit Revolving Loan Facility outlined
herem closes, and the Administrative Agent's and each Co-Collateral
Agent's right to receive reimbursement of all costs and expenses
incurred in connection with Borrowers’ account and the Exit
Revolving Loan Facility outlined herein shall be entitled to priority
as an administrative expense claim under Section 503(b)(1) of the
Bankruptcy Code, and shall be payable upon demand by the
Administrative Agent or any Co-Collateral Agent without further
order of the Bankrupicy Court, whether or not the Exit Revolving
Loan Facility outlined herein closes. The Exit Revolving Loan
Facility shall provide customary expense reimbursement provisions
in connection with the administration and enforcement of the Exit
Revolving Loan Facility by Administrative Agent and any Co-
Collateral Agent.
